                                  Case 16-27168-RAM                  Doc 1        Filed 12/30/16            Page 1 of 40


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Conalvias USA, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2555 Ponce De Leon Blvd., Suite 220
                                  Coral Gables, FL 33134
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 16-27168-RAM                  Doc 1         Filed 12/30/16              Page 2 of 40
Debtor    Conalvias USA, LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor     Conalvias Construcciones, S.A.A.                               Relationship            Owner
                                                   District   Republic of Colombia         When      10/20/15                Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                Case 16-27168-RAM                      Doc 1        Filed 12/30/16              Page 3 of 40
Debtor   Conalvias USA, LLC                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                 Case 16-27168-RAM                    Doc 1         Filed 12/30/16             Page 4 of 40
Debtor    Conalvias USA, LLC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 30, 2016
                                                  MM / DD / YYYY


                             X   /s/ David J. Craft                                                       David J. Craft
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Jeffrey Bast, Esq.                                                    Date December 30, 2016
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jeffrey Bast, Esq.
                                 Printed name

                                 BAST AMRON LLP
                                 Firm name

                                 One Southeast Third Avenue
                                 Suite 1400
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305.379.7904                  Email address      jbast@bastamron.com

                                 996343
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                    Case 16-27168-RAM                          Doc 1        Filed 12/30/16           Page 5 of 40




 Fill in this information to identify the case:

 Debtor name         Conalvias USA, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 30, 2016                       X /s/ David J. Craft
                                                                       Signature of individual signing on behalf of debtor

                                                                       David J. Craft
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                                           Case 16-27168-RAM                                      Doc 1              Filed 12/30/16                         Page 6 of 40

 Fill in this information to identify the case:

 Debtor name            Conalvias USA, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,001,199.41

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,001,199.41


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              9,039.41

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       31,206,425.25


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         31,215,464.66




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                    Case 16-27168-RAM                     Doc 1       Filed 12/30/16      Page 7 of 40

 Fill in this information to identify the case:

 Debtor name         Conalvias USA, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Citibank, N.A.                                           Checking                     1008                                     $1,199.41




           3.2.    Citibank, N.A.                                           Checking                     8088                                             $0.00




           3.3.    Citibank, N.A.                                           Savings                      3174                                             $0.00




           3.4.    Citibank, N.A.                                           Savings                      5751                                             $0.00




           3.5.    Citibank, N.A.                                           Checking                     2961                                             $0.00




           3.6.    Citibank, N.A.                                           Checking                     6284                                             $0.00




           3.7.    Citibank, N.A.                                           Checking                     2510                                             $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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                                    Case 16-27168-RAM                     Doc 1     Filed 12/30/16          Page 8 of 40

 Debtor           Conalvias USA, LLC                                                         Case number (If known)
                  Name



                    Citibank, N.A.
           3.8.     Account overdrawn ($40.00)                              Checking                        9107                      $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                $1,199.41
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:          Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:          Real property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 2
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                                    Case 16-27168-RAM                     Doc 1     Filed 12/30/16        Page 9 of 40

 Debtor         Conalvias USA, LLC                                                           Case number (If known)
                Name

54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                         Current value of
                                                                                                                         debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            Management Liability Insurance
            Maxum Casualty Insurance Company
            3655 North Point Parkway, Suite 500
            Alpharetta, GA 30005
            Policy #MLN-6027061-01                                                                                              $1,000,000.00



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership
            Storage Units
            Extra Space Storage
            855 W. Commercial Blvd.
            Ft. Lauderdale, FL 33309
            Contents: Company Files                                                                                                        $0.00




 78.        Total of Part 11.                                                                                                $1,000,000.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 3
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                                      Case 16-27168-RAM                              Doc 1            Filed 12/30/16                 Page 10 of 40

 Debtor          Conalvias USA, LLC                                                                                  Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $1,199.41

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $1,000,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,001,199.41            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,001,199.41




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
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                                   Case 16-27168-RAM                 Doc 1      Filed 12/30/16           Page 11 of 40

 Fill in this information to identify the case:

 Debtor name         Conalvias USA, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                                   Case 16-27168-RAM                            Doc 1           Filed 12/30/16               Page 12 of 40

 Fill in this information to identify the case:

 Debtor name         Conalvias USA, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $4,218.98          $4,218.98
           Florida Department Of Revenue                             Check all that apply.
           5050 W. Tennessee St.                                        Contingent
           Tallahassee, FL 32399                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2016                                                      Payroll Taxes

           Last 4 digits of account number 7735                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                 $0.00      $0.00
           I.R.S.                                                    Check all that apply.
           C/O Attorney General of the U.S.                             Contingent
           POB 9 Stop 8000 (51 SW 1 Ave)                                Unliquidated
           Miami, FL 33130                                              Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Payroll Taxes
           2016                                                      For notification purposes

           Last 4 digits of account number 7735                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 10
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                                   Case 16-27168-RAM                            Doc 1           Filed 12/30/16              Page 13 of 40

 Debtor       Conalvias USA, LLC                                                                              Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00       $0.00
           I.R.S.                                                    Check all that apply.
           c/o Attorney General Of The US                               Contingent
           950 Pennsylvania Ave., NW #4400                              Unliquidated
           Washington, DC 20530-0001                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Payroll Taxes
           2016                                                      For notification purposes

           Last 4 digits of account number 7735                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00       $0.00
           Internal Revenue Service                                  Check all that apply.
           POB 7346                                                     Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Payroll Taxes
           2016                                                      For notification purposes

           Last 4 digits of account number 7735                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $4,820.43         $4,820.43
           IRS                                                       Check all that apply.
           Atlanta Service Center                                       Contingent
           POB 47-421                                                   Unliquidated
           Doralville, GA 30362                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2016                                                      Payroll Taxes

           Last 4 digits of account number 7735                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00       $0.00
           IRS                                                       Check all that apply.
           DP S-661A                                                    Contingent
           POB 1064                                                     Unliquidated
           Bensalem, PA 19020                                           Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Payroll Taxes
           2016                                                      For notification purposes

           Last 4 digits of account number 7735                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




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 Debtor       Conalvias USA, LLC                                                                      Case number (if known)
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 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          AACON, Inc.                                                           Contingent
          200 River Pointe Dr., #306                                            Unliquidated
          Conroe, TX 77304                                                      Disputed
          Date(s) debt was incurred 2015
                                                                                              Surety/Insurance Industry Agent
                                                                             Basis for the claim:
          Last 4 digits of account number                                    For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,210.35
          ADT Security Services                                                 Contingent
          3700 Coporate Drive                                                   Unliquidated
          Suite 240                                                             Disputed
          Columbus, OH 43231
                                                                             Basis for the claim:    Security Services
          Date(s) debt was incurred 2015-2016
          Last 4 digits of account number 7761                               Is the claim subject to offset?     No       Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Brennan & Clark Ltd.                                                  Contingent
          721 E Madison                                                         Unliquidated
          Suite 200                                                             Disputed
          Villa Park, IL 60181
                                                                                              Collection Company
                                                                             Basis for the claim:
          Date(s) debt was incurred      2016                                Origianl Creditor: Paychex, Inc.
          Last 4 digits of account number       R594                         For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,203.27
          Bridgefield Employers Insurance Company                               Contingent
          PO Box 32034                                                          Unliquidated
          Lakeland, FL 33802                                                    Disputed
          Date(s) debt was incurred 08/12/15 - 02/18/16
                                                                             Basis for the claim:    Worker's Comp Collection Services
          Last 4 digits of account number 8710
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bridgefield Employers Insurance Company                               Contingent
          c/o Dale Gardner Jacobs, P.A.                                         Unliquidated
          4915 Southfork Dr.                                                    Disputed
          Lakeland, FL 33813
                                                                                              Attorneys for Bridgfield Employers Insurance
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Company
          Last 4 digits of account number       8710                         For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Carelia Parra                                                         Contingent
          c/o Kristin H. Wollan, Esq.                                           Unliquidated
          2070 McGregor Blvd., Suite 1                                          Disputed
          Fort Myers, FL 33901
                                                                                              Attorneys for Carelia Parra, planitiff in Case No.
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             2016CA268
          Last 4 digits of account number       A268                         For notification purposes
                                                                             Is the claim subject to offset?     No       Yes




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 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          CHUBB Group of Insurance Companies                                    Contingent
          3 Mountain View Road                                                  Unliquidated
          Warren, NJ 07059                                                      Disputed
          Date(s) debt was incurred
                                                                                              Surety Underwriter
                                                                             Basis for the claim:
          Last 4 digits of account number                                    For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $724.55
          Citibank N.A.                                                         Contingent
          POB 6241                                                              Unliquidated
          Sioux Falls, SD 57117-6241                                            Disputed
          Date(s) debt was incurred 2015-2016
                                                                             Basis for the claim:    Credit Card Services
          Last 4 digits of account number 4510
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $30,960,000.00
          CNA Surety                                                            Contingent
          c/o Michael Groman, Vice Presdient Suret
                                                                                Unliquidated
          6011 University Blvd., Suite 490
          Ellicott City, MD 21043                                               Disputed

          Date(s) debt was incurred 2015-2016                                Basis for the claim:    Construction Bond Company
          Last 4 digits of account number 9375,9369,6364                     Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          CNA Surety                                                            Contingent
          333 S. Wabash Avenue, 41st Floor                                      Unliquidated
          Chicago, IL 60604                                                     Disputed
          Date(s) debt was incurred
                                                                                              Bond Company
                                                                             Basis for the claim:
          Last 4 digits of account number       9375,9369,6364               For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,312.71
          Enterprise Holding                                                    Contingent
          1905 Boy Scout Dr                                                     Unliquidated
          Ft Myers, FL 33907                                                    Disputed
          Date(s) debt was incurred  2015-2016                               Basis for the claim:    Rental Car Services
          Last 4 digits of account number 5275
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Ford Credit                                                           Contingent
          POB 790119                                                            Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                                              Possible deficiency owed after sale of 2015 Ford F250
                                                                             Basis for the claim:
          Last 4 digits of account number       4020                         For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          GE Capital                                                            Contingent
          POB 740425                                                            Unliquidated
          Atlanta, GA 30374-0425                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Possible deficiency for lease of Bobcat Mini
          Last 4 digits of account number       5823                         Excavator
                                                                             Is the claim subject to offset?     No       Yes




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 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          GE Capital                                                            Contingent
          308 E. John Carpenter Freeway                                         Unliquidated
          Irving, TX 75062-2712                                                 Disputed
          Date(s) debt was incurred
                                                                                              Possible deficiency for lease of Bobcat Mini
                                                                             Basis for the claim:
          Last 4 digits of account number       5823                         Excavator
                                                                             For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,800.28
          GreatAmerica Financial Services, Corp.                                Contingent
          625 First St. SE                                                      Unliquidated
          Cedar Rapids, IA 52401                                                Disputed
          Date(s) debt was incurred
                                                                                              Possible deficiency on lease of various construction
                                                                             Basis for the claim:
          Last 4 digits of account number       0000                         equipment
                                                                             For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kelley Tractor Co.                                                    Contingent
          8255 NW 58 St.                                                        Unliquidated
          Miami, FL 33166                                                       Disputed
          Date(s) debt was incurred
                                                                                              Construction Equipment Rental Services
                                                                             Basis for the claim:
          Last 4 digits of account number       1556                         For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kelly Tractor Co.                                                     Contingent
          c/o Rachel A. Camber, Esq.                                            Unliquidated
          9130 S. Dadeland Blvd., #1800                                         Disputed
          Miami, FL 33156
                                                                                              Attorneys for Kelley Tractor Co.
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             For notification purposes
          Last 4 digits of account number       9300
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,590.39
          Liberty Mutual Insurance                                              Contingent
          POB 2027                                                              Unliquidated
          Keene, NH 03431                                                       Disputed
          Date(s) debt was incurred 2015
                                                                             Basis for the claim:    Insurance Premiums
          Last 4 digits of account number       4200
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Liberty Mutual Insurance                                              Contingent
          175 Berkeley Street                                                   Unliquidated
          Boston, MA 02116                                                      Disputed
          Date(s) debt was incurred 2015
                                                                                              Insurance Premiums
                                                                             Basis for the claim:
          Last 4 digits of account number       2400                         For notification purposes
                                                                             Is the claim subject to offset?     No       Yes




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 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Liberty Mutual Insurance Company                                      Contingent
          2055 Sugarloaf Circle, #275                                           Unliquidated
          Duluth, GA 30097                                                      Disputed
          Date(s) debt was incurred 2016
                                                                                              Plaintiff in breach lawsuit with Case No. 16-09673 in
                                                                             Basis for the claim:
          Last 4 digits of account number 9673                               the Northern District of Illinois, Eastern Division
                                                                             For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Linder Industrial Machinery Company                                   Contingent
          c/o Eduardo F. Morrell, Esq.                                          Unliquidated
          902 S. Florida Ave., Suite 205                                        Disputed
          Lakeland, FL 33803
                                                                                              Attorney for Linder Inustrial Company
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             For notification purposes
          Last 4 digits of account number       3658
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Linder Industrial Machinery Company                                   Contingent
          1601 S. Frontage Rd.                                                  Unliquidated
          Plant City, FL 33563                                                  Disputed
          Date(s) debt was incurred
                                                                                              Potential breach of settlement agreement
                                                                             Basis for the claim:
          Last 4 digits of account number       3658                         For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $752.39
          Mobile Modular                                                        Contingent
          POB 59838                                                             Unliquidated
          Schaumburg, IL 60159                                                  Disputed
          Date(s) debt was incurred 2015-2016
                                                                             Basis for the claim:    Mobile Office Rental Services
          Last 4 digits of account number 3251
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mobile Modular                                                        Contingent
          c/o The Leviton Law Firm Ltd.                                         Unliquidated
          3 Golf Center, Suite 361                                              Disputed
          Hoffman Estates, IL 60169
                                                                                              Collection Attorneys
                                                                             Basis for the claim:
          Date(s) debt was incurred 2015-2016
                                                                             Original Creditor: Mobile Modular
          Last 4 digits of account number 3251                               For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $110.99
          Modular Space Corporation                                             Contingent
          1200 Swedesford RD                                                    Unliquidated
          Berwyn, PA 19312                                                      Disputed
          Date(s) debt was incurred 2016
                                                                             Basis for the claim:    Mobile Office Rental Services
          Last 4 digits of account number 3141
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,046.25
          Paychex, Inc.                                                         Contingent
          970 Lake Carillon Dr., #400                                           Unliquidated
          Saint Petersburg, FL 33716                                            Disputed
          Date(s) debt was incurred 2016
                                                                             Basis for the claim:    Payroll Services
          Last 4 digits of account number R594
                                                                             Is the claim subject to offset?     No       Yes


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 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,460.50
          Peckar & Abramson                                                     Contingent
          70 Grand Aveenue                                                      Unliquidated
          River Edge, NJ 07661                                                  Disputed
          Date(s) debt was incurred 2015-2016
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number 3990
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Phillips & Cohen Associates, Ltd.                                     Contingent
          POB 5790                                                              Unliquidated
          Hauppauge, NY 11788-0164                                              Disputed
          Date(s) debt was incurred 2016
                                                                                              Collection Account
                                                                             Basis for the claim:
          Last 4 digits of account number 0416                               Original Creditor: Citibank, N.A.
                                                                             For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Phillips & Cohen Associates, Ltd.                                     Contingent
          Mail Stop: 854                                                        Unliquidated
          1004 Justison St.                                                     Disputed
          Wilmington, DE 19801
                                                                                              Collection Account
                                                                             Basis for the claim:
          Date(s) debt was incurred 2016
                                                                             Original Creditor: Citibank, N.A.
          Last 4 digits of account number 0416                               For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,062.09
          Pinelas County Utilities                                              Contingent
          POB 1780                                                              Unliquidated
          Clearwater, FL 33757                                                  Disputed
          Date(s) debt was incurred 2015-2016
                                                                             Basis for the claim:    Utility Services
          Last 4 digits of account number 7190
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pinellas County Attorney's Office                                     Contingent
          c/o Joseph A. Morrissey                                               Unliquidated
          315 Court Street                                                      Disputed
          Clearwater, FL 33756
                                                                                              Attorney for Pinellas County Utilities
                                                                             Basis for the claim:
          Date(s) debt was incurred 2016
                                                                             For notification purposes
          Last 4 digits of account number 7190
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $667.68
          Preferred Materials Inc.                                              Contingent
          4636 Scarborough Dr.                                                  Unliquidated
          Lutz, FL 33559                                                        Disputed
          Date(s) debt was incurred 10/22/15-12/10/15
                                                                             Basis for the claim:    Construction Materials
          Last 4 digits of account number 1604
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $117,615.50
          Professional Service Industries, Inc.                                 Contingent
          POB 74008418                                                          Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred 01/14/16 - 09/30/16
                                                                             Basis for the claim:    Engineering Consulting Fees
          Last 4 digits of account number 9546
                                                                             Is the claim subject to offset?     No       Yes




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 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Professional Service Industries, Inc.                                 Contingent
          Corporate Headquarters                                                Unliquidated
          1901 S. Meyers Rd., Suite 400                                         Disputed
          Villa Park, IL 60181
                                                                                              Engineering Consulting Fees
                                                                             Basis for the claim:
          Date(s) debt was incurred 01/14/16 - 09/30/16
                                                                             For notification purposes
          Last 4 digits of account number 9546
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,139.44
          Ready Refresh                                                         Contingent
          #215 666 Dixie Hwy                                                    Unliquidated
          Suite 4                                                               Disputed
          Louisville, KY 40258
                                                                             Basis for the claim:    Water Services
          Date(s) debt was incurred  2015-2016
          Last 4 digits of account number 4050                               Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          RMS                                                                   Contingent
          POB 361595                                                            Unliquidated
          Columbus, OH 43236                                                    Disputed
          Date(s) debt was incurred      2016                                                 Collection Account
                                                                             Basis for the claim:
          Last 4 digits of account number       9109                         Original Creditor: Xerox Corp.
                                                                             For Notification Purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Continental Insurance Company                                     Contingent
          333 South Wabash Avenue                                               Unliquidated
          41st Floor                                                            Disputed
          Chicago, IL 60604
                                                                                              Plaintiff in breach lawsuit with Case No. 16-09673 in
                                                                             Basis for the claim:
          Date(s) debt was incurred 2016
                                                                             the Northern District of Illinois, Eastern Division
          Last 4 digits of account number 9673                               For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Continental Insurance Company                                     Contingent
          Riordan, McKee, & Piper, LLC                                          Unliquidated
          c/o Harold E. McKee, Esq.                                             Disputed
          20 N. Wicker Drive, Suite 910
          Chicago, IL 60606                                                                   Attorneys for The Continental Insurance Company
                                                                             Basis for the claim:
                                                                             and Liberty Mutual Insurance Company in breach lawsuit with Case
          Date(s) debt was incurred 2016
                                                                             No. 16-09673 in the Northern District of Illinois, Eastern Division
          Last 4 digits of account number 9673                               For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $431.79
          United Site Services of Florida, Inc.                                 Contingent
          POB 660475                                                            Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred 2015-2016
                                                                             Basis for the claim:    Equipment Rental
          Last 4 digits of account number 7413
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,456.81
          Universal Engineering Sciences                                        Contingent
          1748 Independece Boulevard                                            Unliquidated
          Suite B-1                                                             Disputed
          Sarasota, FL 34234
                                                                             Basis for the claim:    Engineering Services
          Date(s) debt was incurred 01/04/16 - 10/28/16
          Last 4 digits of account number 0046                               Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Valentine & Kebartas, LLC                                             Contingent
          POB 235                                                               Unliquidated
          Lawrence, MA 01842                                                    Disputed
          Date(s) debt was incurred 2016
                                                                                              Collection Account
                                                                             Basis for the claim:
          Last 4 digits of account number 0121                               Original Creditor ADT Security Services
                                                                             For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,537.30
          Vision Ace Hardware Arcadia                                           Contingent
          1009 North Brevard Ave                                                Unliquidated
          Arcadia, FL                                                           Disputed
          Date(s) debt was incurred 2016
                                                                             Basis for the claim:    Materials Supply Services
          Last 4 digits of account number 0124
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,944.45
          Wex Bank                                                              Contingent
          225 Gorham Road                                                       Unliquidated
          South Portland, ME 04106                                              Disputed
          Date(s) debt was incurred 2015-2016
                                                                             Basis for the claim:    Fuel Credit Card
          Last 4 digits of account number 4969
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $947.87
          Windham Professionals                                                 Contingent
          382 Main Street                                                       Unliquidated
          Salem, NH 03079-2412                                                  Disputed
          Date(s) debt was incurred 2016
                                                                                              Collection account
                                                                             Basis for the claim:
          Last 4 digits of account number       0092                         Original creditor: Comcast Corporation
                                                                             Client ID: 28938027
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          World Omni                                                            Contingent
          POB 8500                                                              Unliquidated
          Philadelphia, PA 19178                                                Disputed
          Date(s) debt was incurred
                                                                                              Possible deficiency owed after sale of 2015 Toyota
                                                                             Basis for the claim:
          Last 4 digits of account number       6958                         Rav 4
                                                                             For notification purposes
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,590.94
          Xerox Corp                                                            Contingent
          POB 361595                                                            Unliquidated
          Columbus, OH 43236                                                    Disputed
          Date(s) debt was incurred  2015-2016                               Basis for the claim:    Photo Copy Machine Rentals
          Last 4 digits of account number 9109
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 10
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 Debtor       Conalvias USA, LLC                                                                      Case number (if known)
              Name


 3.47      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $819.70
           Zephyrhills                                                          Contingent
           Nestle Waters North America, Inc.                                    Unliquidated
           #215 6661 Dixie Hwy, Suite 4                                         Disputed
           Louisville, KY 40258
                                                                             Basis for the claim:    Water Supply Services
           Date(s) debt was incurred 2015-2016
           Last 4 digits of account number 4050                              Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        9,039.41
 5b. Total claims from Part 2                                                                            5b.   +    $                   31,206,425.25

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      31,215,464.66




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 10 of 10
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 Fill in this information to identify the case:

 Debtor name         Conalvias USA, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Disbursement Control
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Specific Performance
                                                          Completion                 AACON, Inc.
             List the contract number of any                                         200 River Pointe Drive, #306
                   government contract                                               Conroe, TX 77304




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Conalvias USA, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Agremezclas                       K 3 N 39N 23                                      CNA Surety                         D
             S.A.S.                            Cali, Valle del Cauca                                                                E/F       3.9
                                               Republic of Colombia
                                                                                                                                    G




    2.2      Conalvias                         Carrera 3 Norte # 39n-23                          CNA Surety                         D
             Construcciones                    Cali                                                                                 E/F       3.9
             S.A.S.                            Republic of Colombia
                                                                                                                                    G




    2.3      Infraestructura                   Calle 94 a No. 11 a-36 Piso 3                     CNA Surety                         D
             Concesionada                      Bogota                                                                               E/F       3.9
             S.A.S.                            Republic of Colombia
                                                                                                                                    G




    2.4      Patria S.A.S.                     Calle 94 A N 11A-50 Piso 2                        CNA Surety                         D
                                               Bogota                                                                               E/F       3.9
                                               Republic of Colombia
                                                                                                                                    G




Official Form 206H                                                          Schedule H: Your Codebtors                                        Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Conalvias USA, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2016 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                            $-3,072,519.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For year before that:                                                                       Operating a business                                 $11,340.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Conalvias USA, LLC                                                                        Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    David J. Craft                                              10/19/16                         $12,717.04           Reimbursement for Settlement
               170 Ocean Lane Dr., #806                                                                                          Payment from Lawsuit
               Key Biscayne, FL 33149
               Manager

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    The Continental Insurance                         Civil                      United States District Court                 Pending
               Company and Liberty Mutual                                                   Northern District of Illinois                On appeal
               Insurance Company                                                            Eastern Division
                                                                                                                                         Concluded
               v.                                                                           219 South Dearborn St.
               Conalvias USA, LLC, et al                                                    Chicago, IL 60604
               16-09673

       7.2.    Carelia Parra,                                    Auto Negligence            Twelfth Judicial Circuit in                  Pending
               v.                                                                           and for                                      On appeal
               Conalvias USA, LLC, & James                                                  DeSoto County, Florida
                                                                                                                                         Concluded
               Maguire Sasser                                                               115 East Oak Street
               2016CA268                                                                    Arcadia, FL 34266

       7.3.    Kelly Tractor Co.                                 Breach Of                  County Court in and for                      Pending
               v.                                                Contract                   Miami-Dade                                   On appeal
               Conalvias USA, LLC, et al                                                    73 West Flagler St.
                                                                                                                                         Concluded
               16-006443 CC 26                                                              Miami, FL 33130


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

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 Debtor        Conalvias USA, LLC                                                                           Case number (if known)



           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                  Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                             lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       F350 Chassis                                              None                                                       01/2016                Unknown
       Sold to fomer employee for $500.
       Former employee closed bank
       account prior to check being
       processed.


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates         Total amount or
                the transfer?                                                                                                                         value
                Address
       11.1.    Bast Amron LLP
                Suntrust International Centre
                One Southeast Thrid Ave.
                Suite 1400
                Miami, FL 33131                                                                                                12/19/16          $15,335.00

                Email or website address
                www.bastamron.com

                Who made the payment, if not debtor?
                Conalvias Construccion S.A.S.



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.



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 Debtor      Conalvias USA, LLC                                                                          Case number (if known)



       Name of trust or device                                       Describe any property transferred                Dates transfers       Total amount or
                                                                                                                      were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                            Description of property transferred or                  Date transfer      Total amount or
               Address                                           payments received or debts paid in exchange             was made                    value
       13.1 CarMax, Inc.
       .    2550 Roosevelt Blvd.
               Clearwater, FL 33760                              2011 Ford F150                                          01/29/2016               $9,000.00

               Relationship to debtor
               None


       13.2 CarMax, Inc.
       .    3000 Colonial Blvd.
               Fort Myers, FL 33966                              2011 Ford F250                                          02/01/16                $14,000.00

               Relationship to debtor
               None


       13.3 Nitro Trucking, Inc.
       .    4847 Hull Ave
               Fort Ogden, FL 34267                              MOT F350                                                01/2016                  $3,000.00

               Relationship to debtor
               None


       13.4 CarMax, Inc.
       .    1700 NW 36 St.
               Pompano Beach, FL 33064                           2013 Hyudnai Elantra                                    11/23/2015               $9,500.00

               Relationship to debtor
               None


       13.5 CarMax, Inc.                                         2015 Ford F250
       .    1700 NW 36 St.                                       Ford Credit held lien in the amount of
               Pompano Beach, FL 33064                           $32,009.93 as of date of transfer                       02/08/2016              $27,000.00

               Relationship to debtor
               None


       13.6 CarMax, Inc.                                         2015 Toyota Rav4
       .    1700 NW 36 St.                                       World Omni held lien in the amount of
               Pompano Beach, FL 33064                           $17,921.33 as of date of transfer                       02/16/2016              $16,000.00

               Relationship to debtor
               None




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 Debtor      Conalvias USA, LLC                                                                         Case number (if known)



               Who received transfer?                            Description of property transferred or                  Date transfer   Total amount or
               Address                                           payments received or debts paid in exchange             was made                 value
       13.7 Bayside Machinery Company,
       .    Inc.
               2719 Fairfield Ave. South
               Saint Petersburg, FL 33712                        330 CL Caterpillar Hydraulic Excavatir                  01/2016             $20,000.00

               Relationship to debtor
               None


       13.8 CarMax, Inc.
       .    3808 14th St. West
               Bradenton, FL 34205                               2010 Ford F150                                          02/01/16            $10,000.00

               Relationship to debtor
               None


       13.9 CarMax, Inc.
       .    3808 14th St. West
               Bradenton, FL 34205                               2012 Ford F150                                          02/01/16              $8,000.00

               Relationship to debtor
               None


       13.1 CarMax, Inc.                                         2012 Ford Edge
       0.   1700 NW 36 St.                                       Ford Credit held lien at time of transfer,
               Pompano Beach, FL 33064                           amount reflected is net proceeds                                                $465.00

               Relationship to debtor
               None


       13.1 David J. Craft
       1.   170 Ocean Lane Dr., #806
               Key Biscayne, FL 33149                            2013 Ford Explorer                                      11/23/2015          $21,000.00

               Relationship to debtor
               Manager


       13.1                                                      Debtor surrendered all accounts
       2.   CNA Surety                                           receivables, materials, and equipment
               333 S. Wabash Ave., 41st                          pursant to General Agreement of
               Floor                                             Indemnity and Memorandum of
               Chicago, IL 60604                                 Understanding with the surety.                          10//16/2015           Unknown

               Relationship to debtor
               Surety/Bond Company


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply




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 Debtor        Conalvias USA, LLC                                                                       Case number (if known)



                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     1001 NW 62 St., Suite 200                                                                                 2013 - 2015
                 Building 2
                 Fort Lauderdale, FL 33309

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Conalvias USA LLC 401(k) Plan (Mass Mutual Financial Group)                                EIN: 826406

                    Has the plan been terminated?
                      No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred
       18.1.     Citibank, N.A.                                  XXXX-6979                   Checking                 12/28/2015                        $3,366.05
                 POB 769018                                                                  Savings
                 San Antonio, TX 78245
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


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 Debtor      Conalvias USA, LLC                                                                         Case number (if known)



19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Extra Space Storage                                           Storage Units                        Company Files                           No
       855 W. Commercial Blvd.                                       Marilu Nino                                                                  Yes
       Fort Lauderdale, FL 33309                                     1001 Cypress Creek
                                                                     Rd.,Build 2 Suite 200
                                                                     Ft. Lauderdale, FL 33309



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

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 Debtor      Conalvias USA, LLC                                                                         Case number (if known)



24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       E. F. Alvarez & Company, P.A.                                                                                              2013 - Present
                    782 NW 42nd Ave, Suite 545
                    Miami, FL 33126

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       E.F. Alvarez & Company, P.A.                                                                                               02/15/2015,
                    782 NW 42 Ave., Suite 545                                                                                                  04/20/2015
                    Miami, FL 33126

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       E.F. Alvarez & Company, P.A.
                    782 NW 42nd Ave., Suite 545
                    Miami, FL 33126

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

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               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       David J. Craft                                 2555 Ponce De Leon Blvd., Suite 220                 Manager                               None
                                                      Coral Gables, FL 33134

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Juan David Jaramillo                           2555 Ponce De Leon Blvd., Suite 220                 Manager                               None
                                                      Coral Gables, FL 33134



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Juan Hernandez, Sr.                            1001 NW 62nd St., Suite 200                         Director                          12/14/2015 -
                                                      Fort Lauderdale, FL 33309                                                             01/12/2016


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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 Debtor      Conalvias USA, LLC                                                                         Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 30, 2016

 /s/ David J. Craft                                                     David J. Craft
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 10
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                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Conalvias USA, LLC                                                                           Case No.
                                                                                  Debtor(s)              Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       December 30, 2016                                         /s/ David J. Craft
                                                                       David J. Craft/Manager
                                                                       Signer/Title




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            AACON, Inc.
            200 River Pointe Dr., #306
            Conroe, TX 77304


            AACON, Inc.
            200 River Pointe Drive, #306
            Conroe, TX 77304


            ADT Security Services
            3700 Coporate Drive
            Suite 240
            Columbus, OH 43231


            Brennan & Clark Ltd.
            721 E Madison
            Suite 200
            Villa Park, IL 60181


            Bridgefield Employers Insurance Company
            PO Box 32034
            Lakeland, FL 33802


            Bridgefield Employers Insurance Company
            c/o Dale Gardner Jacobs, P.A.
            4915 Southfork Dr.
            Lakeland, FL 33813


            Carelia Parra
            c/o Kristin H. Wollan, Esq.
            2070 McGregor Blvd., Suite 1
            Fort Myers, FL 33901


            CHUBB Group of Insurance Companies
            3 Mountain View Road
            Warren, NJ 07059


            Citibank N.A.
            POB 6241
            Sioux Falls, SD 57117-6241


            CNA Surety
            c/o Michael Groman, Vice Presdient Suret
            6011 University Blvd., Suite 490
            Ellicott City, MD 21043
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        CNA Surety
        333 S. Wabash Avenue, 41st Floor
        Chicago, IL 60604


        Enterprise Holding
        1905 Boy Scout Dr
        Ft Myers, FL 33907


        Florida Department Of Revenue
        5050 W. Tennessee St.
        Tallahassee, FL 32399


        Ford Credit
        POB 790119
        Saint Louis, MO 63179


        GE Capital
        POB 740425
        Atlanta, GA 30374-0425


        GE Capital
        308 E. John Carpenter Freeway
        Irving, TX 75062-2712


        GreatAmerica Financial Services, Corp.
        625 First St. SE
        Cedar Rapids, IA 52401


        I.R.S.
        C/O Attorney General of the U.S.
        POB 9 Stop 8000 (51 SW 1 Ave)
        Miami, FL 33130


        I.R.S.
        c/o Attorney General Of The US
        950 Pennsylvania Ave., NW #4400
        Washington, DC 20530-0001


        Internal Revenue Service
        POB 7346
        Philadelphia, PA 19101-7346
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        IRS
        Atlanta Service Center
        POB 47-421
        Doralville, GA 30362


        IRS
        DP S-661A
        POB 1064
        Bensalem, PA 19020


        Kelley Tractor Co.
        8255 NW 58 St.
        Miami, FL 33166


        Kelly Tractor Co.
        c/o Rachel A. Camber, Esq.
        9130 S. Dadeland Blvd., #1800
        Miami, FL 33156


        Liberty Mutual Insurance
        POB 2027
        Keene, NH 03431


        Liberty Mutual Insurance
        175 Berkeley Street
        Boston, MA 02116


        Liberty Mutual Insurance Company
        2055 Sugarloaf Circle, #275
        Duluth, GA 30097


        Linder Industrial Machinery Company
        c/o Eduardo F. Morrell, Esq.
        902 S. Florida Ave., Suite 205
        Lakeland, FL 33803


        Linder Industrial Machinery Company
        1601 S. Frontage Rd.
        Plant City, FL 33563


        Mobile Modular
        POB 59838
        Schaumburg, IL 60159
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        Mobile Modular
        c/o The Leviton Law Firm Ltd.
        3 Golf Center, Suite 361
        Hoffman Estates, IL 60169


        Modular Space Corporation
        1200 Swedesford RD
        Berwyn, PA 19312


        Paychex, Inc.
        970 Lake Carillon Dr., #400
        Saint Petersburg, FL 33716


        Peckar & Abramson
        70 Grand Aveenue
        River Edge, NJ 07661


        Phillips & Cohen Associates, Ltd.
        POB 5790
        Hauppauge, NY 11788-0164


        Phillips & Cohen Associates, Ltd.
        Mail Stop: 854
        1004 Justison St.
        Wilmington, DE 19801


        Pinelas County Utilities
        POB 1780
        Clearwater, FL 33757


        Pinellas County Attorney's Office
        c/o Joseph A. Morrissey
        315 Court Street
        Clearwater, FL 33756


        Preferred Materials Inc.
        4636 Scarborough Dr.
        Lutz, FL 33559


        Professional Service Industries, Inc.
        POB 74008418
        Chicago, IL 60674
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        Professional Service Industries, Inc.
        Corporate Headquarters
        1901 S. Meyers Rd., Suite 400
        Villa Park, IL 60181


        Ready Refresh
        #215 666 Dixie Hwy
        Suite 4
        Louisville, KY 40258


        RMS
        POB 361595
        Columbus, OH 43236


        The Continental Insurance Company
        333 South Wabash Avenue
        41st Floor
        Chicago, IL 60604


        The Continental Insurance Company
        Riordan, McKee, & Piper, LLC
        c/o Harold E. McKee, Esq.
        20 N. Wicker Drive, Suite 910
        Chicago, IL 60606


        United Site Services of Florida, Inc.
        POB 660475
        Dallas, TX 75266


        Universal Engineering Sciences
        1748 Independece Boulevard
        Suite B-1
        Sarasota, FL 34234


        Valentine & Kebartas, LLC
        POB 235
        Lawrence, MA 01842


        Vision Ace Hardware Arcadia
        1009 North Brevard Ave
        Arcadia, FL


        Wex Bank
        225 Gorham Road
        South Portland, ME 04106
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        Windham Professionals
        382 Main Street
        Salem, NH 03079-2412


        World Omni
        POB 8500
        Philadelphia, PA 19178


        Xerox Corp
        POB 361595
        Columbus, OH 43236


        Zephyrhills
        Nestle Waters North America, Inc.
        #215 6661 Dixie Hwy, Suite 4
        Louisville, KY 40258
